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                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

UNITED STATES OF AMERICA                                                                   Plaintiff


v.                              Case No. 4:07-CR-00264-06 GTE


SORRELL “JOE” HONEA                                                                      Defendant


                                             ORDER

       The Court has received information from the United States Probation Office which provides

good cause for concluding that Defendant, while incarcerated prior to sentencing, is not receiving

the minimum level of health care to which he is entitled by the United States Constitution. The

Court has consulted with counsel for the Defendant and the Government. After balancing the totality

of the circumstances, including the likelihood of serious harm if immediate action is not taken, and

with the agreement of both parties,

       IT IS HEREBY ORDERED THAT Defendant Sorrell “Joe” Honea shall be released

immediately from detention on his own recognizance under the same conditions of his previous

bond. He shall remain free on bond pending sentencing.

       IT IS SO ORDERED THIS          31st   day of December, 2009.

                                              /s/Garnett Thomas Eisele
                                              UNITED STATES DISTRICT JUDGE
